1. The brief of the evidence contained in the instant bill of exceptions shows a sufficient compliance with the statute (Code, § 70-305) to authorize its consideration by this court, the oral testimony having been succinctly stated, and some, if not all, of the immaterial parts of the documentary evidence having been eliminated.
2. Where a defendant in a criminal case is convicted on final trial, he is liable for the costs of the prosecution, and it is the duty of the judge to enter judgment against him for such costs. Such a judgment is a lien on all the property of the defendant from the date of his arrest. *Page 414 
3. Where a defendant is convicted, but the judge fails to enter a judgment for costs, it is proper for the judge to enter a nunc pro tunc order amending the former judgment to provide for the payment of costs, after the expiration of the term at which the judgment was entered, and even after an execution for the costs has issued.
4. One who claims land under a deed executed by the defendant after his conviction, but before such a nunc pro tunc order has been entered, has the burden of proving that he acted in good faith and without notice in making such purchase.
5. The assent of the executor to a legacy to the tenant for life inures to the benefit of the remaindermen. After such assent a vested-remainder interest is subject to levy and sale, though the life-estate be not terminated.
6. When an executor assents to a legacy to the tenant for life, he parts with all power and control over the land involved, where the will imposes no further duty upon the executor with respect to such land. The facts of the instant case are insufficient to show that the title of the remainderman had been divested at the time the lien of the judgment for costs became of force.
       No. 13969. JANUARY 15, 1942. REHEARING DENIED FEBRUARY 12, 1942.
On November 10, 1937, W. M. Roberts was indicted for the offense of murder; and on February 18, 1939, he was found guilty and given a sentence of life imprisonment. This court affirmed the judgment overruling his motion for a new trial, and on October 20, 1939, the judgment of this court was formally made the judgment of the trial court. On November 6, 1939, the clerk of the superior court issued an execution against Roberts for $190.20, the amount of the costs due to the officers of the court as a result of the prosecution and conviction of Roberts. On November 18, 1940, the execution was levied on a one-fourth undivided interest in a described tract of land, to which A. L. Faulkner filed a claim in the statutory form. Thereafter, on August 11, 1941, the judge of the superior court entered an order amending the judgment making the judgment of the Supreme Court the judgment of the trial court, by adding the following: "and it is further ordered that judgment be entered up against W. M. Roberts for the sum of $190.20, for use of the officers of the court, together with lawful interest on said sum from the date of October 20, 1939, until paid." This order recited that it was signed nunc pro tunc as of October 20, 1939. Faulkner, the claimant, asserted title to the land levied on, by virtue of a warranty deed from W. M. Roberts, dated October 26, 1939. *Page 415 
The case was submitted to the judge without a jury, and he rendered a judgment for the claimant. The plaintiffs in fi. fa. excepted.
The evidence upon the trial disclosed that the land in dispute was a part of the estate left by J. A. Roberts, who died in 1921, leaving a will in which he devised certain property to his wife absolutely and gave her a life-estate in the balance. The will provided that after the death of the life-tenant the property should be "divided share and share alike among my children, or representatives, I mean, if any of my children die, their child or children to receive his or her share." The will was probated, and the nominated executor, Z. T. Roberts, qualified as executor and took charge of the estate, consisting of the land involved, valued at $1200, and personalty worth about $9500. Although the testator's widow did not die until September 26, 1940, the executor began in 1924 to divide the estate among the remaindermen, who were the executor, W. M. Roberts, and two other children of the testator. In 1928 and 1931 W. M. Roberts received extra advancements from the estate in the sum of $703.25; and although $2000 was divided among the remaindermen in August, 1937, he had not been required to account for any of the extra advancements at the time of his indictment and conviction of murder. According to an annual return filed by the executor, the shares received by the remaindermen were made equal in July, 1940, when the other three were paid $703.25. The executor testified, on the trial, that as executor of the will of J. A. Roberts he had taken possession of the land involved; that he had not assented to the legacies and bequests made under the will, or did not do so until the date on which the land was sold to the claimant; that he managed the land for his mother, and either turned the income therefrom over to her or expended the same for her benefit; that his mother enjoyed her life-interest in the realty until October 26, 1939, when she gave the claimant a quitclaim deed thereto; and that W. M. Roberts received his entire one-fourth interest in the estate of his father on or before August 10, 1937, by agreement with all of the legatees under the will. The deed to the claimant, dated October 26, 1939, recited a consideration of $1200, and was signed by each of the four remaindermen. Under the same date, the claimant executed to the grantors a deed to the land for the purpose of securing a stated indebtedness of $1000. *Page 416 
It is stated in the record that the notes secured by this deed were made payable to Z. T. Roberts as executor of the estate of J. A. Roberts. The deeds mentioned above, as well as the quitclaim deed from the life-tenant to the claimant, were introduced in evidence.
1. This case was brought to this court by a bill of exceptions which purports to contain all of the evidence material to a clear understanding of the errors complained of. Code, § 6-801. The bill of exceptions contains a succinct statement of the oral testimony introduced upon the trial; but counsel for the defendant in error suggest in their briefs that the judgment should be affirmed, because the documentary evidence contained therein is not properly briefed. While most of the seventeen typewritten pages of evidence is devoted to a reproduction of documentary evidence, it can not be said that no bona fide attempt was made to comply with the statute. Code, § 70-305. Portions of some of the documents were omitted, and the documents copied in full contain very little that can be said to be irrelevant. This case therefore differs from Harris v. McArthur, 90 Ga. 216 (3) (15 S.E. 758),Moss v. Birch, 102 Ga. 556 (28 S.E. 623), and similar cases, where no bona fide attempt was made to brief the documentary evidence.
2. The execution levied in the instant case was issued for the purpose of collecting the fees due to the sheriff, the clerk of the superior court, and the solicitor-general, as a result of the prosecution and conviction of the defendant in fi. fa. for the offense of murder. These officers of the court are entitled to receive their fees from the fine and forfeiture fund in cases where defendants have been acquitted, or where the persons liable by law for the payment of the costs are unable to pay the same; but there is no provision of law authorizing the payment of these fees from this fund in cases where the convicted defendant is able to pay the costs. Code, §§ 27-2904, 27-2905, 27-2911. "The costs of a prosecution, except the fees of his own witnesses, shall not be demanded of a defendant until after conviction on final trial. If convicted, judgment may be entered up against him for all costs accruing in the committing or trial courts, and by any officer pending the prosecution. The judgment shall be a lien on all the property of the *Page 417 
defendant from the date of his arrest, and the clerk shall issue an execution on the judgment against said property. The court may also direct the defendant to be imprisoned until all costs are paid." Code, § 27-2801. While the word "may" ordinarily denotes permission and not command (Code, § 102-103), the use of that word in the second sentence of the quoted section can not be construed to mean that the trial judge is vested with a discretion in the matter of taxing the costs against the convicted defendant. There is no provision of law for the payment of the fees of the officers of the court where the judge in his discretion fails to tax the costs against the convicted defendant, and it can not be assumed that it was ever intended that the compensation of these officers should rest in the discretion of the judge. On the contrary, all of the laws dealing with costs imply that the convicted defendant shall be liable for the payment of costs, and that the officers shall obtain their costs from him except in cases where he is unable to pay. Certainly the judge had no discretion in this matter before the adoption of the first Code. An act approved December 21, 1830 (Cobb, 860), provided: "It shall be the duty of the judge of the superior court, in the event of any person or persons being found guilty, . . to cause judgment to be entered up for all costs which may have accrued by reason of said arrest and prosecution." See also Cobb, 857, 859. The use of the word "may" instead of "shall" is insufficient to show that the codifiers intended to change the law so as to vest in the trial judge a discretion in the matter of entering judgment for costs, where no such discretion previously existed. We are dealing here with a case of conviction for irreducible felony, and not with a conviction for a misdemeanor, where punishment is prescribed by the Code, § 27-2801, in the discretion of the court. Whether the rule as to costs in the latter case should be different is not decided.
3. Since the law allows the judge no discretion as to entering judgment for costs against the convicted defendant, but imposes the burden of paying costs as an incident to conviction, the verdict of guilty against the defendant imposed upon the judge the duty of entering judgment against him for the costs: "A judgment may be amended by order of the court to conform to the verdict upon which it is predicated, even after an execution issues." Code, § 110-311. Such an amendment may be made after the expiration *Page 418 
of the term at which the judgment was entered. Robinson v.Vickers, 160 Ga. 362 (2) (127 S.E. 849). The nunc pro tunc order which the judge entered in the instant case merely amended the former judgment to make it conform to the verdict which placed the burden of costs upon the defendant. This was proper. See Villines v. State, 105 Ark. 471 (151 S.W. 1023, 43 L.R.A. (N.S.) 207). Neither did the fact that the order was entered after the execution had been issued and levied render the order void. "You may prop the execution by working on the judgment, though you can not prop the levy by working on the execution."McLendon v. Frost, 59 Ga. 350. The ruling in Davis v.Banks, 142 Ga. 93 (4) (82 S.E. 497), has no application here, and is not in conflict with the present ruling, because the judgment there was void and could not be amended, because the defendant in attachment had not been given notice as required by law.
4. The claimant further contends that he is a bona fide purchaser for value and without notice. If this contention is sustained by evidence, then, irrespective of other questions, the property is not subject and claimant is entitled to prevail. Code, § 37-111. The deed from the defendant conveying to the claimant the land levied upon was dated subsequently to the date when the judgment of the Supreme Court affirming the conviction of the defendant for murder was made the judgment of the trial court. Under the law the defendant was a prisoner at the time, not entitled to bail; consequently he was most likely in prison, thus putting the claimant on notice of the lien for costs, or notice of a fact which if diligently investigated would have disclosed the lien. Code, § 37-116. But our decision on the question is based upon another and certain ground. The burden of proving that he was a purchaser for value and without notice was upon the claimant. Eason v. Vandiver, 108 Ga. 109
(33 S.E. 873); Ray v. Atlanta Trust  Banking Co., 147 Ga. 265 (6) (93 S.E. 418). Proof of payment of the purchase-money alone raises a presumption of good faith, and carries the burden of claimant. Johnston v. Neal, 67 Ga. 528; Williams v.Smith, 128 Ga. 306 (57 S.E. 801). The deed of conveyance of the property involved, reciting a consideration of $1200, was in evidence; but no testimony was introduced to prove that the recited consideration was in fact paid, nor was it otherwise proved to have been paid. This recital of the consideration in the deed and the *Page 419 
recital therein that it was paid does not carry the burden of proving payment of the purchase-money. Louisville  NashvilleRailroad Co. v. Ramsey, 134 Ga. 107 (67 S.E. 652); Beam
v. Rome Hardware Co., 184 Ga. 272 (191 S.E. 126).
5. It is clear that the language of the will of J. A. Roberts had the effect of granting to the testator's children, including the defendant in fi. fa., a vested-remainder interest in the land here involved. Code, § 85-708; Olmstead v. Dunn, 72 Ga. 850
(2); Burney v. Arnold, 134 Ga. 141 (2) (67 S.E. 712). Such a remainder interest is subject to levy and sale as the property of the heir, though the life-estate be not terminated, if the executor has assented to the legacy for life. Wilkinson v.Chew, 54 Ga. 602; Torbit v. Jones, 145 Ga. 610
(89 S.E. 696); Gibbons v. International Harvester Co., 146 Ga. 467
(91 S.E. 482). But the claimant makes the contention that the executor did not assent to the legacy. "The assent of the executor to a legacy to the tenant for life inures to the benefit of the remainderman. Remainderman, at the termination of the life-estate, may take possession immediately. If, however, the will provides for a sale or other act to be done for the purpose of, or prior to, a division, the executor may recover possession for the purpose of executing the will." Code, § 85-709. The executor in his testimony made the general statement that he had not assented to the legacies and bequests under the will of J. A. Roberts. However, he stated other facts from which it appears that he had assented to the bequest. He stated that he managed the property for his mother, the life-tenant, and gave her the proceeds therefrom or expended them for her benefit. He further stated that the life-tenant "enjoyed her life-interest in the realty" until she conveyed her interest to the claimant in 1939. The will did not place upon the executor the duty of managing the realty during the existence of the life-tenancy; and the above testimony can only be construed to mean that the witness was acting as the agent of the life-tenant in the transactions referred to. This evidence clearly showed that the executor had assented to the legacy to the life-tenant, and this assent inured to the benefit of the remaindermen.
6. When the executor assented to the devise to the life-tenant, he parted with all power and control over the land as such executor. Watkins v. Gilmore, 121 Ga. 488
(49 S.E. 598); Wilson v. Aldenderfer, *Page 420 183 Ga. 760 (189 S.E. 907). The claimant introduced evidence showing that after the executor had assented to the devise of the land he advanced to the defendant in fi. fa. more than his proportionate part of the estate remaining in his hands. Apparently there was some agreement that the defendant in fi. fa. should reimburse the executor on the final settlement of the estate and after a sale of the land. In fact it does appear that the defendant received none of the proceeds from the sale by him and the other remaindermen to the claimant, and that these proceeds were divided among the other remaindermen. However, the facts are insufficient to show that the defendant had been divested of title, or that the executor had any lien against his interest in the land at the time the lien of the instant judgment attached to the land. Title to the land having once vested in the defendant, it could not be divested other than in some manner provided by law. It follows from what has been said that the court erred in rendering judgment for the claimant.
Judgment reversed. All the Justices concur.